Case 2:19-cv-09254-GW-MRW Document 10 Filed 11/08/19 Page 1 of 2 Page ID #:33



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  7

  8                         UNITED STATES DISTRICT COURT

  9                       CENTRAL DISTRICT OF CALIFORNIA

 10

 11    CHAD T. GRIMM,                            Case No. 2:19-cv-09254-GW-MRW

 12                     Plaintiff,               NOTICE OF SETTLEMENT

 13          v.

 14
       ALLIANT CAPITAL
 15    MANAGEMENT, LLC,

 16                     Defendant.

 17

 18         PLEASE TAKE NOTICE CHAD T. GRIMM, (“Plaintiff”), hereby notifies
 19
      the Court that the Plaintiff and Defendant, have settled all claims between them in
 20

 21   this matter and are in the process of completing the final closing documents and filing

 22   the dismissal. The Parties anticipate this process to take no more than 60 days and
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      request that the Court retain jurisdiction for any matters related to completing and/or
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 25   enforcing the settlement. The Parties propose to file a stipulated dismissal with

 26   prejudice with 60 days of submission of this Notice of Settlement and pray the Court
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      to stay all proceedings until that time.
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                                                  1
Case 2:19-cv-09254-GW-MRW Document 10 Filed 11/08/19 Page 2 of 2 Page ID #:34



  1   Respectfully submitted this 8th day of November 2019.
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  3

  4                                                s/ Nicholas M. Wajda
                                                   Nicholas M. Wajda
  5                                                Wajda Law Group, APC
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                                                   Culver City, CA 90230
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  9

 10                              CERTIFICATE OF SERVICE
 11         I hereby certify that I today caused a copy of the foregoing document to be
 12
      electronically filed with the Clerk of Court using the CM/ECF system, which will be
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 14   sent to all attorneys of record.
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 16
                                                         s/ Nicholas M. Wajda
                                                         Nicholas M. Wajda
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